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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

                                            )
IN RE: AQUEOUS FILM-FORMING                 )       MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                    )
LITIGATION                                  )       CASE MANAGEMENT
                                            )       ORDER NO. 22
                                            )
                                            )       This Order Relates to All Actions
                                            )

      PROTOCOL REGARDING EXPERT WITNESS DEPOSITIONS AND TRIAL
                 WITNESSES NOT PREVIOUSLY DEPOSED

       The Court hereby issues the following Case Management Order (“CMO”) to govern the

protocol and procedures for expert witness depositions and the deposition of trial witnesses not

previously deposed during fact discovery in the Tier Two Water Provider Bellwether cases.

I.     EXPERT WITNESS DISCOVERY:

       A.     Pursuant to CMO 19, the parties shall complete expert depositions by June 30,
              2022.

      B.      For any expert who issues only one expert report limited to either general liability
              (defined as an issue that applies to all three Tier Two Water Provider Bellwether
              cases rather than specifically to any one of them) or a single Tier Two Water
              Provider Bellwether case, the deposition of such expert witness shall be limited to
              seven (7) hours.

      C.      If either of the parties produces expert reports for expert witnesses who issue more
              than one expert report (e.g. one report related to general liability and one or more
              reports related to case-specific opinions) or who address more than one Tier Two
              Water Provider Bellwether case in a single report, then the total deposition time
              permitted for any such expert witness shall presumptively be seven (7) hours for
              the expert witness’s general liability expert report, and an additional two (2) hours
              per each specific case that the expert addresses. Without prior agreement of the
              parties or order of the Court, in no instance, however, shall an expert’s deposition
              be limited to less than seven hours or exceed twelve hours total.


      D.      The parties shall meet and confer in good faith should a party believe that the
              presumptive time limits set forth above are not appropriate for a particular witness.

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II.     TRIAL WITNESSES NOT PREVIOUSLY DEPOSED:

        A.    Aside from rebuttal witnesses, witnesses not included on a party’s trial witness list
              shall not be called at trial absent agreement by the parties or a showing of good
              cause as to why the witness was not included on the witness list.

        B.    If either party discloses a fact witness on its trial witness list who has not previously
              been deposed in this MDL, any party shall be permitted to depose that witness. Any
              party noticing a deposition pursuant to this provision must notify all parties of its
              intent to depose the previously non-deposed trial witness within fourteen days of
              receipt of the opposing party’s trial witness list. Further, for depositions conducted
              pursuant to this provision, the parties will use good faith efforts to complete the
              depositions within an agreed-upon time period within the framework of the existing
              deadlines and trial schedule that will be forthcoming. It is also presumptively
              understood that depositions under this provision will be conducted within 30 days
              of receipt of the request for the witness’s deposition.

        AND IT IS SO ORDERED.

                                                      s/ Richard Mark Gergel
                                                      Richard Mark Gergel
                                                      United States District Judge
February 14, 2022
Charleston, South Carolina




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